                            Case 1:22-cv-02477-JRR               Document 65-1                Filed 04/09/25    Page 1 of 1



                                                IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF MARYLAND
              U.S. Equal Employment Opportunity Commission
                                                                            *
                       Plaintiff,
                                                                            *
                       v.                                                                      Case No. 1:22-cv-02477
              Sinclair Broadcast Group, Inc.
                                                                            *

                       Defendant.                                           *

                                              NOTICE OF FILING OF DOCUMENT UNDER SEAL
              Check one.

                            Exhibit 10
               X
                                                      which is an attachment to
                                                                                    Defendant's Second Supplement
                             to its Motion for Order Regarding Confidentiality of Discovery Material
                            will be electronically filed under seal within 24 hours of the filing of this Notice.

               to it



                                                                        (title of document)

                            will be electronically filed under seal within 24 hours of the filing of this Notice.

                            I certify that at the same time I am filing this Notice, I will serve copies of the document
              identified above by email upon Plaintiff's Attorney, Emily Datnoff                                                      .

              April 9, 2025
              Date                                                                Signature
                                                                                   Margaret L. Argent, 06132
                                                                                  Printed Name and Bar Number

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